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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

                                                )
 HARBOR ISLAND DYNAMIC LLC,                     )    Case No. 2:24-cv-00717-JRG-RSP
                                                )
                          Plaintiff,            )    JURY TRIAL DEMANDED
                                                )
            v.                                  )
                                                )
 NXP SEMICONDUCTORS N.V., NXP                   )
 B.V., NXP SEMICONDUCTORS                       )
 GUANGDONG LTD., NXP                            )
 SEMICONDUCTORS (BEIJING) LTD.,                 )
 NXP SEMICONDUCTORS (TIANJIN)                   )
 LTD., NXP SEMICONDUCTORS HONG                  )
 KONG LTD., NXP SEMICONDUCTORS                  )
 INDIA PVT. LTD., NXP                           )
 SEMICONDUCTORS JAPAN LTD., NXP                 )
 SEMICONDUCTORS KOREA LTD., NXP                 )
 SEMICONDUCTORS MALAYSIA SDN.                   )
 BHD., NXP SEMICONDUCTORS                       )
 SINGAPORE PTE. LTD., NXP                       )
 SEMICONDUCTORS (THAILAND) CO.                  )
 LTD., and NXP SEMICONDUCTORS                   )
 TAIWAN LTD.,                                   )
                                                )
                          Defendants.           )
                                                )

                             JOINT MOTION FOR ENTRY OF
                             DISPUTED DISCOVERY ORDER

       Pursuant to the Court’s Order Setting the Scheduling Conference dated December 20, 2024

(Dkt. 20), Plaintiff Harbor Island Dynamic, LLC (“Plaintiff” or “Harbor Island”) and Defendants

NXP Semiconductors (Shanghai) Ltd., NXP Semiconductors Japan Ltd., NXP Semiconductors

Taiwan Ltd (collectively, “Defendants” or “NXP”) (Plaintiff and Defendants collectively referred

to as “the Parties”) have met and conferred and hereby submit the proposed Disputed Discovery

Order attached as Exhibit A. The Parties have indicated their competing proposals using
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highlighting and square brackets in the attached order (indicating HID’s proposal). While the

Parties have reached agreement on most of the issues, one issue remains:


       HID’s proposed language to be included in paragraph 12(d): “all materials generated
       by a testifying expert with respect to that person’s work in this case [are exempt from
       discovery unless relied upon by the expert in forming any opinions in this litigation]”


HID’s Position

       HID requests this provision to make clear that material an expert generates in the course of

his or her engagement on the case is not discoverable unless the expert relies on such material. As

with drafts of reports and communications with attorneys, any such tangible material would be

subject to immunity from discovery under Fed. R. Civ. P. 26(b)(3)(A) as it would, by definition,

be prepared in anticipation of litigation. Removing HID’s provision could render presumptively

discoverable information relating to such items as, for example, theories of infringement that were

considered by the expert but not pursued. There is no relevance to such material, as an expert

could not testify to anything on which he or she did not rely.

NXP’s Position

       HID’s proposed insert to exclude from discovery “all materials generated by a testifying

expert with respect to that person’s work in this case” is ambiguous and overbroad and goes well

beyond the protection of drafts of expert reports and communications between counsel and experts.

For example, HID’s additional language would encompass information related to the testing of

and teardowns of accused products done by a testifying expert that produce results inconsistent

with the expert’s expressed opinions and/or inconsistent with testing and teardown results

affirmatively relied upon the expert. HID’s proposed exclusion would therefore deprive NXP of

the ability to fully explore the veracity of opinions and methodologies and fulsome cross




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examination as to highly relevant facts if an expert were to simply choose not to discuss an adverse

test or teardown result in his or her report.



Dated: February 4, 2025                         Respectfully submitted,

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                                   AND NXP SEMICONDUCTORS TAIWAN LTD.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 4, 2025, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                            /s/ Alfred R. Fabricant
                                               Alfred R. Fabricant




                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that all counsel of record has met and conferred in

accordance with Local Rule CV-7(h) and this joint motion is unopposed.


                                            /s/ Alfred R. Fabricant
                                               Alfred R. Fabricant
